EXHIBIT 2
                           UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF MARYLAND
                                    (Northern Division)


 ALFRED CHESTNUT, et al.

                   Plaintiffs,

      v.                                                 Civil Action No. RDB-20-02342

 BALTIMORE POLICE
 DEPARTMENT, et al.,

                   Defendants.


                     RESPONSE OF OFFICER DEFENDANTS TO
           PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

       Defendants, Donald Kincaid, Bryn Joyce, and John Barrick (hereinafter the “Officer

Defendants”), by and through undersigned counsel and pursuant to Rule 34 of the Federal Rules

of Civil Procedure, respond to Plaintiff’s First Set of Requests for Production (“Requests”) dated

May 19, 2021, as follows:

                        GENERAL OBJECTIONS AND STATEMENTS

       1.      Officer Defendants object to the Requests to the extent that they seek to impose

obligations that are beyond the scope permitted by the rules of this Court and the Federal Rules of

Civil Procedure.

       2.      All responses are based upon the best information currently available and Officer

Defendants reserves their right to supplement this response as discovery proceeds, and as new

information comes to light, as their own investigation continues.
        3.     Officer Defendants object to the Requests to the extent that they are overly broad,

duplicative, unduly burdensome, oppressive, vexatious, and/or seek information that is irrelevant

and not reasonably calculated to lead to discovery of admissible evidence.

        4.     Officer Defendants object to the Requests to the extent that they seek information

not within their possession, custody, or control.

        5.     Officer Defendants object to the Requests to the extent that they are vague,

ambiguous, and/or fail to describe the information sought with particularity.

        6.     Officer Defendants object to the Plaintiff’s definition of “Documents” as vague,

overly broad and unduly burdensome, in that, as phrased, it could relate to virtually anything.

        7.     Officer Defendants object to the Requests to the extent they seek information

protected by the attorney-client privilege, the work product doctrine, the spousal communication

privilege, or any other privilege or protective doctrine.

        8.     Officer Defendants object to the Requests to the extent they seek information which

constitutes the work product of any attorney, material prepared in anticipation of litigation, and/or

which would disclose the mental impression, conclusions, opinions, or legal theories of counsel.

        9.     Officer Defendants’ failure to object to the Requests on a particular ground shall

not be construed as a waiver of their right to object on that ground or any additional ground at any

time.

        10.    Further, the information supplied in these Answers is, at times, not based solely

upon the knowledge of the executing party, but includes the knowledge of the parties, their agents,

representatives and attorneys, unless privileged.




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          11.    The word usage and sentence structure may be that of the attorney assisting in the

preparation of these Answers and, thus, does not necessarily purport to be the precise language of

the executing parties.

                           ANSWERS TO PRODUCTION REQUEST

          1.     All documents referred to in your answers to interrogatories. (Standard Request

No. 1).

          Response to Request #1:

          Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and without waiving these objections, or any of the General Objections, Officer

Defendants refer Plaintiff to all documents produced by any party to the case and/or documents

responsive to any subpoena that has been or will be produced. Investigation continues.

          2.     All communications, including but not limited to electronic communications such

as e-mail, Lotus Notes, SMS messages, or text communications, in your possession, custody, or

control, concerning this civil action, the underlying criminal investigation and/or prosecution of

Plaintiffs, and the investigation and/or prosecution of the murder of DeWitt Duckett, including

but not limited to communications to or from any named defendant in this case or

communications between or among employees or agents of BPD and/or the SAO.

          Response to Request #2:

          Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and without waiving these objections, or any of the General Objections, any




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such statements that Officer Defendants are presently aware of are included in the homicide file

and lotus notes that are produced herewith. Investigation continues.

       3.      All documents concerning any communication between agents or employees of

BPD and the Plaintiffs, or anyone acting under the authority of Plaintiffs, concerning the

occurrence. (Standard Document Request No. 3, modified).

       Response to Request #3:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and without waiving these objections, or any of the General Objections, any

such statements that Officer Defendants are presently aware of are included in the homicide file

and lotus notes that are produced herewith. Investigation continues.

       4.      All documents concerning any communication between you or any agents or

employees of BPD, on the one hand, and the SAO, or anyone acting under the authority of the

SAO, concerning the occurrence. (Standard Document Request No. 3, modified).

       Response to Request #4:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and without waiving these objections, or any of the General Objections, any

such statements that Officer Defendants are presently aware of are included in the homicide file

and lotus notes that are produced herewith. Investigation continues.

       5.      All documents, to the extent they are not protected by Fed. R. Civ. P. 26(b)(4),

provided to, received from, or prepared by each witness identified by you in connection with the




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disclosures required by Fed. R. Civ. P. 26(a)(2)(A) or in connection with any witness identified

as an expert in this case. (Standard Document Request No. 4).

       Response to Request #5:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and not waiving this or any of the General Objections, Officer Defendants do

not have documents that are responsive to the request under Fed. R. Civ. P. 26(a)(2)(A) and further

state that any other documents requested in Request #5 are included in the homicide file and lotus

notes that are produced herewith. Investigation continues.

       6.      All documents received from or provided to any other party to this action (other

than Plaintiffs) or received from any third-party since the filing of the Complaint, whether

provided informally or in response to a formal request. (Standard Document Request No. 9,

modified).

       Response to Request #6:

       Officer Defendants object to this request as overly broad and unduly burdensome. Officer

Defendants additionally object to the extent that this request applies to “any other party” since

Defendant BPD’s documents are not within Officer Defendants’ custody, possession, and control.

Subject to and not waiving this or any of the General Objections, Officer Defendants refer Plaintiff

to the documents and records produced herewith. Investigation continues.

       7.      All documents referred to in the Complaint and other pleadings, as the word

“pleadings” is defined in Fed. R. Civ. P. 7(a). (Standard Document Request No. 10).

       Response to Request # 7:




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        Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and not waiving this or any of the General Objections, Officer Defendants refer

Plaintiff to the documents produced herewith. Investigation continues.

        8.      All documents concerning the investigation into the murder of DeWitt Duckett on

November 18, 1983, including without limitation the investigation, prosecution, and

incarceration of Plaintiffs.

        Response to Request #8:

        Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Officer Defendants state that the documents concerning the investigation into the murder

of Dewitt Duckett on November 18, 1993 would be included in the homicide file and lotus notes

produced herewith.

        9.      All documents concerning Plaintiffs prior to November 18, 1983.

        Response to Request #9:

        Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Officer Defendants additionally object to this request to the extent that it seeks information

protected by the attorney-client privilege or work-product doctrine. Subject to and not waiving this

or any of the General Objections, Officer Defendants refer Plaintiff to the documents produced

herewith. Investigation continues.




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       10.     Your complete personnel file from your employment with BPD, including

without limitation any and all documents concerning your hiring, training, employment,

performance, discipline, and remediation with BPD.

       Response to Request #10:

       Officer Defendants object to this request because it is overly broad in terms of time, unduly

burdensome, and seeks information that is confidential, unnecessary, and thus disproportional to

the needs of the case. Subject to and without waiving these objections, or any of the General

Objections, Officer Defendants will produce sustained portions of the IAPro History printouts

pursuant to the protective order previously entered in this case and upon an anticipated meet and

confer regarding appropriate temporal scope limitations. Responding further, Officer Defendants

are in the process of obtaining and reviewing additional employment related material and intend

to produce any sustained citizen complaints which are relevant to Plaintiff’s allegations consistent

with Bellamy-Bey v. Baltimore Police Dept., 237 F.R.D. 391, 393 (D. Md. 2006).

       11.     All documents concerning any complaint, grievance, or disciplinary action,

whether formal or informal, from any source, concerning your conduct as a BPD employee,

including your complete file maintained by BPD Internal Affairs Division.

       Response to Request #11:

       Officer Defendants object to this request because it is overly broad in terms of time, unduly

burdensome, and seeks information that is confidential, unnecessary, and thus disproportional to

the needs of the case. Subject to and without waiving these objections, or any of the General

Objections, Officer Defendants will produce sustained portions of the IAPro History printouts

pursuant to the protective order previously entered in this case and upon an anticipated meet and

confer regarding appropriate temporal scope limitations. Responding further, Officer Defendants



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are in the process of obtaining and reviewing additional employment related material and intend

to produce any sustained citizen complaints which are relevant to Plaintiff’s allegations consistent

with Bellamy-Bey v. Baltimore Police Dept., 237 F.R.D. 391, 393 (D. Md. 2006).

       12.     All documents concerning any complaint, grievance, lawsuit, or claim, whether

civil, criminal, or administrative, for misconduct or for causing any personal injury that has ever

been filed and/or lodged against you in any capacity.

       Response to Request #12:

       Officer Defendants object to this request because it is overly broad in terms of time, unduly

burdensome, and seeks information that is confidential, unnecessary, and thus disproportional to

the needs of the case. Subject to and without waiving these objections, or any of the General

Objections, Officer Defendants will produce sustained portions of the IAPro History printouts

pursuant to the protective order previously entered in this case and upon an anticipated meet and

confer regarding appropriate temporal scope limitations. Responding further, Officer Defendants

are in the process of obtaining and reviewing additional employment related material and intend

to produce any sustained citizen complaints which are relevant to Plaintiff’s allegations consistent

with Bellamy-Bey v. Baltimore Police Dept., 237 F.R.D. 391, 393 (D. Md. 2006).

       13.     If you contend that Plaintiffs were guilty of the murder of DeWitt Duckett, all

documents on which you rely in support of that contention.

       Response to Request #13:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and without waiving these or the general objections, Officer Defendants refers

Plaintiffs to the documents produced herewith. Investigation continues.



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       14.     All documents that support or refute your defenses as to liability or damages at

trial, including any and all documents that support or refute the affirmative defenses in your

Answer to the Complaint.

       Response to Request #14:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Subject to and without waiving these or the general objections, Officer Defendants refers

Plaintiffs to the documents produced herewith. Investigation continues.

       15.     All documents concerning any training you have received or provided during your

employment with BPD and prior to May 28, 1984, including, but not limited to, any and all

documents concerning the disclosure of evidence to prosecutors or a defendant;

interviewing/interrogating witnesses, including minors; identifying and eliminating suspects;

seeking arrest warrants; conducting eyewitness identification procedures, including photo arrays;

preparing prosecution reports; documenting an investigation, and supervision of other officers,

including the content of the trainings and certificates of completion.

       Response to Request 15:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

disproportional to the needs of the case, and seeks information and documents not within the

Officer Defendants’ custody, possession, or control. Subject to and without waiving these

objections, or any of the General Objections, Officer Defendants refer Plaintiff to all documents

produced by any party to the case and/or documents responsive to any subpoena that has been or

will be produced. Further responding, Defendant Officers are not in possession of any responsive

documents. Investigation continues.



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       16.     All documents concerning any alternate suspects (i.e., suspects other than the

Plaintiffs) identified during the investigation of the murder of Dewitt Duckett, including but not

limited to Michael Willis, DOB: 6/30/1965, related to their arrest and detention by BPD, their

being investigated or prosecuted for any crime, their status as a witness in any investigation or

prosecution, and any offers, promises, rewards, cooperation agreements, or inducements

suggested or made to them at any time.

       Response to Request #16:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

and seeks information and documents not within the Officer Defendants’ custody, possession, or

control. Officer Defendants state that the documents concerning the investigation into the murder

of Dewitt Duckett on November 18, 1993 would be included in the homicide file and lotus notes

produced herewith.

       17.     Your BPD Daily Activity Reports (or equivalent document, if one exists), from

November 18, 1983, through May 24, 1984.

       Response to Request #17:

       Officer Defendants object to this Request because it is overly broad, unduly burdensome,

disproportional to the needs of the case, and seeks information and documents not within the

Officer Defendants’ custody, possession, or control. Subject to and without waiving these

objections, or any of the General Objections, Officer Defendants state that they are not presently

in possession of any responsive documents.

       18.     A color photograph of yourself from the shoulders up facing the camera, showing

a clear view of your face, from 1983, or as close to that date as you have in your possession,




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custody, or control. If a color photograph is not available, please produce a black and white

photograph.

       Response to Request #18:

       Defendant Officers object to this request as harassing, unduly burdensome in that it is a

needless invasion of the privacy of retired law enforcement officers, and because it poses an

unnecessary risk that Defendant Officers will be made the subject of an unfair and unreliable

photo identification procedure. Defendant Officers further object to this request because it poses

a risk to officer safety.



                                                     Respectfully submitted,


                                                     /s/ Shneur Nathan
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                                                     Attorneys for Donald Kincaid, Bryn Joyce, &
                                                     John Barrick




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2021, I caused the foregoing document to be

electronically sent to all counsel of record via email.

                                                           /s/ Shneur Nathan




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